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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 15-cv-02108-REB-STV

  BALJIT S. NANDA,

        Plaintiff,
  v.

  PHILLIPS 66 COMPANY,

        Defendant.


                                      FINAL JUDGMENT


        This action was tried before a jury of nine sworn to try the issues herein with the

  Honorable Robert E. Blackburn, United States District Judge for the District of Colorado,

  presiding. The jury rendered unanimous verdicts. In accordance with the verdicts of the

  jury and the orders filed during pendency of this case, and pursuant to Fed. R. Civ. P.

  58(a), the following Final Judgment is entered.

        THEREFORE, IT IS ORDERED as follows:

        1.      That as prescribed under Federal Rules of Civil Procedure 58, judgment

                enters for the defendant, Phillips 66 Company, against the plaintiff, Baljit S.

                Nanda, in the amount of three hundred sixty-seven thousand, eight

                hundred one ($367,801), plus post-judgment interest at the rate of 0.91

                percent per year; and

        2.      That costs shall be taxed and allowed as prescribed by Rule 54(d)1 and

                Local Civil Rule 54.1.

                DATED at Denver, Colorado, this 22nd day of December 2016.
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                                    FOR THE COURT:

                                    Jeffrey P. Colwell, Clerk

                                    By: s/Kathleen Finney
                                           Kathleen Finney
                                           Deputy Clerk


  APPROVED BY THE COURT:




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